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                               United States District Court
                                   NORTHERN DISTRICT OF TEXAS
                                   1100 COMMERCE, ROOM 1572
                                      DALLAS, TEXAS 75242

       CHAMBERS OF                                                               TELEPHONE (214) 753-2420
JUDGE BARBARA M.G. LYNN




                                        February 22, 2023



To All Attorneys of Record

       Re:      Viral DRM LLC v. Classic Chevrolet Buick GMC of Cleburne, LLC
                Case No. 3:22-CV-2528-M

Dear Counsel:

        It has come to the Court’s attention that this case has settled. I commend you on your
diligent efforts. I would like to receive the executed dismissal papers by April 7, 2023.

                                             Very truly yours,




BMGL/jlf
